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                                    1
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Law Offices of Jerry L. Steering




                                    9
                                                                UNITED STATES DISTRICT COURT
                                   10
                                                              CENTRAL DISTRICT OF CALIFORNIA
                                   11

                                   12
                                        DAVIS JOSH SALARY,                )        Case No.
                                                                          )
                                   13         Plaintiff,                  )        COMPLAINT FOR DAMAGES FOR
                                   14                                     )        VIOLATIONS OF FEDERAL
                                              vs.                         )        CONSTITUTIONAL RIGHTS UNDER 42
                                   15
                                                                          )        U.S.C. § 1983 – FOURTH AMENDMENT
                                   16   COUNTY OF ORANGE, RANDY           )        RIGHT TO FREEDOM FROM
                                        ENSLEY, RYAN GILBERT, T.          )        EXCESSIVE / UNREASONABLE
                                   17
                                        BROWN, PEDRO PEREZ-ESTRADA, )              FORCE, EIGHT AMENDMENT RIGHT
                                   18   ADAM HECKATHORN, RICHARD          )        TO BE FREE FROM CRUEL AND
                                   19   AVILA and DOES 1 through 10,      )        UNUSUAL PUNISHMENT,
                                        inclusive,                        )        FOURTEENTH AMENDMENT RIGHT
                                   20
                                                                          )        TO BE FREE FROM CONSCIENCE
                                   21         Defendants.                 )        SHOCKING BEHAVIOR, FIRST
                                                                          )        AMENDMENT RIGHT TO FREEDOM
                                   22
                                                                          )        FROM RETALIATION FOR EXERCISE
                                   23                                     )        OF PROTECTED SPEECH;
                                   24
                                                                          )        CALIFORNIA STATE LAW CLAIMS
                                                                          )        FOR VIOLATION OF CAL. CIVIL CODE
                                   25                                     )        § 52.1, ASSAULT AND BATTERY
                                   26                                     )
                                                                          )
                                   27
                                                                          )        JURY TRIAL DEMANDED
                                   28   _________________________________

                                                                     COMPLAINT FOR DAMAGES
                                                                               1
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                                    1
                                                 COMES NOW plaintiff Davis Josh Salary and shows this honorable court the

                                    2   following:
                                    3
                                                                     JURISDICTIONAL ALLEGATIONS
                                    4

                                    5            1.     As this action is brought under 42 U.S.C. § 1983, this court has jurisdiction
                                    6
                                        over this case under its federal question jurisdiction pursuant to 28 U.S.C. § 1331.
                                    7

                                    8            2.     As the incidents complained of in this action occurred in the County of
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                                    9
                                        Orange, State of California, within the territorial jurisdiction of this court, venue properly
                                   10
                                        lies in this court pursuant to 28 U.S.C. § 1391(b)(2).
                                   11

                                   12            3.     Plaintiff timely filed his Government Claim For Damages against the
                                   13
                                        County of Orange less than six months following the incident of May 27, 2017 incident
                                   14

                                   15   and said Government Claim For Damages was denied less than six months prior to the
                                   16
                                        date of the filing of this Complaint.
                                   17

                                   18
                                                                           GENERAL ALLEGATIONS

                                   19            4.     Plaintiff Davis Josh Salary, hereinafter referred to as “SALARY,” is a
                                   20
                                        natural person, who, at all times complained of in this action, resided in the County of
                                   21

                                   22   Orange and in the State of California.
                                   23
                                                 5.     Defendant Deputy Sheriff Randy Ensley1, hereinafter referred to as
                                   24

                                   25   “ENSLEY”, is, and at all times complained herein, was, a deputy sheriff with the Orange
                                   26
                                        County Sheriff’s Department. At all times complained of herein, ENSLEY was acting as
                                   27

                                   28
                                        1
                                            Orange County Sheriff’s Department personnel identification number 3523.
                                                                          COMPLAINT FOR DAMAGES
                                                                                    2
                                        Case 8:18-cv-01228-JVS-ADS Document 1 Filed 07/11/18 Page 3 of 22 Page ID #:3




                                    1
                                        an individual person under the color of state law, pursuant to his status as a Deputy

                                    2   Sheriff and Custodial Officer, and was acting in the course of and within the scope of his
                                    3
                                        employment with defendant County of Orange.
                                    4

                                    5          6.     Defendant Deputy Sheriff Ryan Gilbert2, hereinafter referred to as
                                    6
                                        “GILBERT”, is, and at all times complained herein, was, a deputy sheriff with the
                                    7

                                    8   Orange County Sheriff’s Department. At all times complained of herein, GILBERT was
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                                    9
                                        acting as an individual person under the color of state law, pursuant to his status as a
                                   10
                                        Deputy Sheriff and Custodial Officer, and was acting in the course of and within the
                                   11

                                   12   scope of his employment with defendant County of Orange.
                                   13
                                               7.     Defendant Deputy Sheriff T. Brown3, hereinafter referred to as “BROWN”,
                                   14

                                   15   is, and at all times complained herein, was, a deputy sheriff with the Orange County
                                   16
                                        Sheriff’s Department. At all times complained of herein, BROWN was acting as an
                                   17

                                   18
                                        individual person under the color of state law, pursuant to his status as a Deputy Sheriff

                                   19   and Custodial Officer, and was acting in the course of and within the scope of his
                                   20
                                        employment with defendant County of Orange.
                                   21

                                   22          8.     Defendant Deputy Sheriff Pedro Perez-Estrada4, hereinafter referred to as
                                   23
                                        “PEREZ-ESTRADA”, is, and at all times complained herein, was, a deputy sheriff with
                                   24

                                   25   the Orange County Sheriff’s Department. At all times complained of herein, PEREZ-
                                   26

                                   27   2
                                          Orange County Sheriff’s Department Personnel Identification Number 5694.
                                        3
                                   28     Orange County Sheriff’s Department Personnel Identification Number 5014.
                                        4
                                          Orange County Sheriff’s Department Personnel Identification Number 5862.
                                                                       COMPLAINT FOR DAMAGES
                                                                                 3
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                                    1
                                        ESTRADA was acting as an individual person under the color of state law, pursuant to

                                    2   his status as a Deputy Sheriff and Custodial Officer, and was acting in the course of and
                                    3
                                        within the scope of his employment with defendant County of Orange.
                                    4

                                    5            9.     Defendant Deputy Sheriff Adam Heckathorn5, hereinafter referred to as
                                    6
                                        “HECKATHORN”, is, and at all times complained herein, was, a deputy sheriff with the
                                    7

                                    8   Orange County Sheriff’s Department. At all times complained of herein,
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                                    9
                                        HECKATHORN was acting as an individual person under the color of state law, pursuant
                                   10
                                        to his status as a Deputy Sheriff and Custodial Officer, and was acting in the course of
                                   11

                                   12   and within the scope of his employment with defendant County of Orange.
                                   13
                                                 10.    Defendant Deputy Sheriff Richard Avila6, hereinafter referred to as
                                   14

                                   15   “AVILA”, is, and at all times complained herein, was, a deputy sheriff with the Orange
                                   16
                                        County Sheriff’s Department. At all times complained of herein, AVILA was acting as an
                                   17

                                   18
                                        individual person under the color of state law, pursuant to his status as a Deputy Sheriff

                                   19   and Custodial Officer, and was acting in the course of and within the scope of his
                                   20
                                        employment with defendant County of Orange.
                                   21

                                   22            11.    Defendant County of Orange, hereinafter also referred to as “COUNTY”, is
                                   23
                                        a municipal entity located in the State of California; within the territorial jurisdiction of
                                   24

                                   25   this court.
                                   26

                                   27
                                        5
                                   28       Orange County Sheriff’s Department Personnel Identification Number 9092.
                                        6
                                            Orange County Sheriff’s Department Personnel Identification Number 9092.
                                                                         COMPLAINT FOR DAMAGES
                                                                                   4
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                                    1
                                              12.    Defendants DOES 1 through 6, inclusive, are sworn deputy sheriffs and / or

                                    2   police officers and/or investigators and/ Special Officers and/or Custodial Officers and/or
                                    3
                                        dispatchers and/or some other public officer, public official or employee of defendant
                                    4

                                    5   COUNTY and/or otherwise employed by the Orange County Sheriff’s Department, who
                                    6
                                        in some way committed some or all of the tortious actions (and constitutional violations)
                                    7

                                    8   complained of in this action, and/or are otherwise responsible for and liable to plaintiff
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                                    9
                                        for the acts complained of in this action, whose identities are, and remain unknown to
                                   10
                                        plaintiff, who will amend his complaint to add and to show the actual names of said DOE
                                   11

                                   12   defendants when ascertained by plaintiff.
                                   13
                                              13.    At all times complained of herein, DOES 1 through 6, inclusive, were acting
                                   14

                                   15   as individual persons acting under the color of state law, pursuant to their authority as
                                   16
                                        sworn peace officers and/or deputy sheriffs and/or Custodial Officers and/or Special
                                   17

                                   18
                                        Officers and/or Supervisors (i.e. Sergeants, Lieutenants, Captains, Commanders, etc.)

                                   19   and/or dispatchers, employed by the Orange County Sheriff’s Department, and were
                                   20
                                        acting in the course of and within the scope of their employment with defendant
                                   21

                                   22   COUNTY.
                                   23
                                              14.    Defendants DOES 7 through 10, inclusive, are sworn peace officers and/or
                                   24

                                   25   the Sheriff and/or Assistant Sheriffs and/or Commanders and/or Captains and/or
                                   26
                                        Lieutenants and/or Sergeants and/or other Supervisory personnel and/or policy making
                                   27
                                        and/or final policy making officials, employed by the Orange County Sheriff’s
                                   28


                                                                     COMPLAINT FOR DAMAGES
                                                                               5
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                                    1
                                        Department and/or defendant COUNTY, who are in some substantial way liable and

                                    2   responsible for, or otherwise proximately caused and/or contributed to the occurrences
                                    3
                                        complained of by plaintiff in this action, such as via supervisory liability (i.e. failure to
                                    4

                                    5   properly supervise, improperly directing subordinate deputies, approving actions of
                                    6
                                        subordinate deputies), via bystander liability (failing to intervene in and stop unlawful
                                    7

                                    8   actions of their subordinates and/or other officers), and such as by creating and/or causing
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                                    9
                                        the creation of and/or contributing to the creation of the policies and/or practices and/or
                                   10
                                        customs and/or usages of the Orange County Sheriff’s Department for: 1) for using
                                   11

                                   12   unreasonable force upon jail inmates, 2) for fabricating / destroying / concealing / altering
                                   13
                                        evidence in criminal and civil actions, and for otherwise “framing” persons in criminal
                                   14

                                   15   actions, in order to falsely and maliciously, oppressively convict innocent persons, to
                                   16
                                        protect them and other deputy sheriffs and supervisory personnel from civil,
                                   17

                                   18
                                        administrative and criminal liability; 3) for interfering with persons’ and/or otherwise

                                   19   violating persons’ constitutionally protected right to free speech; 4) for covering-up
                                   20
                                        unlawful and tortious conduct by Orange County Sheriff’s Department personnel, and
                                   21

                                   22   were a proximate cause of the very same California state law, and federal and state
                                   23
                                        constitutional violations complained above, and complained of by the plaintiff in this
                                   24

                                   25   action.
                                   26
                                              15.    Plaintiff is presently unaware of the identities of DOES 1 through 10,
                                   27
                                        inclusive, and will amend his complaint to add and to show the actual names of said DOE
                                   28


                                                                      COMPLAINT FOR DAMAGES
                                                                                6
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                                    1
                                        defendants, when ascertained by plaintiff.

                                    2            16.    At all times complained of herein, DOES 7 through 10, inclusive, were
                                    3
                                        acting were acting as individual persons acting under the color of state law, pursuant to
                                    4

                                    5   their authority as the Sheriff and/or the Assistant Sheriffs and/or Captains and/or
                                    6
                                        Lieutenants and/or Sergeants and/or other Supervisory personnel and/or policy making
                                    7

                                    8   and/or final policy making officials with the Orange County Sheriff’s Department, and/or
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                                    9
                                        some other public official(s) with defendant COUNTY, and were acting in the course of
                                   10
                                        and within the scope of their employment with defendant COUNTY.
                                   11

                                   12            17.    At all times complained of herein, defendants DOES 7 through 10, inclusive,
                                   13
                                        were acting as individual persons under the color of state law; under and pursuant to their
                                   14

                                   15   status and authority as peace officers and/or Supervisory peace officers (as described
                                   16
                                        herein, above and below), and/or policy making peace officers, with the Orange County
                                   17

                                   18
                                        Sheriff’s Department and/or otherwise with defendant COUNTY7.

                                   19            18.    Moreover, at all times complained of herein, defendants ENSLEY,
                                   20
                                        GILBERTSON, T. BROWN, PEREZ-ESTRADA, HECKATHORN, AVILA and DOES
                                   21

                                   22   1 through 10, inclusive, were acting pursuant to, or otherwise contributed to the creation
                                   23
                                        and maintenance of, the customs, policies, usages and practices of the Orange County
                                   24

                                   25   Sheriff’s Department / County of Orange, for: 1) for using unreasonable force upon jail
                                   26
                                        inmates, 2) for fabricating / destroying / concealing / altering evidence in criminal and
                                   27

                                   28
                                        7
                                            Such as a COUNTY executive officer.
                                                                        COMPLAINT FOR DAMAGES
                                                                                  7
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                                    1
                                        civil actions, and for otherwise “framing” persons in criminal actions, in order to falsely

                                    2   and maliciously, oppressively convict innocent persons, to protect them and other deputy
                                    3
                                        sheriffs and supervisory personnel from civil, administrative and criminal liability; 3) for
                                    4

                                    5   interfering with persons’ and/or otherwise violating persons’ constitutionally protected
                                    6
                                        right to free speech; 4) for covering-up unlawful and tortious conduct by Orange County
                                    7

                                    8   Sheriff’s Department personnel, and were a proximate cause of the very same California
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                                    9
                                        state law, and federal and state constitutional violations complained above, and
                                   10
                                        complained of by the plaintiff in this action.
                                   11

                                   12         19.    In addition to the above and foregoing, defendants DOES 1 through 6,
                                   13
                                        inclusive, acted pursuant to a conspiracy, agreement and understanding and common plan
                                   14

                                   15   and scheme to deprive the plaintiff of his federal Constitutional and statutory rights, as
                                   16
                                        complained of in this action, and acted in joint and concerted action to so deprive plaintiff
                                   17

                                   18
                                        of those rights as complained of herein; all in violation of 42 U.S.C. § 1983, and

                                   19   otherwise in violation of United States (Constitutional and statutory) law.
                                   20
                                              20.    Said conspiracy / agreement / understanding / plan / scheme / joint action /
                                   21

                                   22   concerted action, above-referenced, was a proximate cause of the violation of the
                                   23
                                        plaintiff’s federal and state constitutional and statutory rights, as complained of herein.
                                   24

                                   25                       FIRST CAUSE OF ACTION
                                          UNREASONABLE / EXCESSIVE FORCE - UNDER FOURTH AMENDMENT
                                   26
                                                                 [42 U.S.C. § 1983]
                                   27                         (Against All Defendants)
                                   28


                                                                     COMPLAINT FOR DAMAGES
                                                                               8
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                                    1
                                                 21.   Plaintiff hereby realleges and incorporates by reference the allegations set

                                    2   forth in paragraphs 1 through 20, inclusive, above, as though set forth in full herein.
                                    3
                                                 22.   On Tuesday, May 27, 2017, plaintiff was scheduled to go to court for the
                                    4

                                    5   third day in a row. Plaintiff waited in a holding cell at “the Loop” at the Intake Release
                                    6
                                        Center of the Orange County Jail (“IRC”) with a couple of other inmates.
                                    7

                                    8            23.   While waiting in the cell plaintiff prepared for his trial. The waiting period
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                                    9
                                        was usually about an hour. Plaintiff knew this based on prior experiences when going to
                                   10
                                        court.
                                   11

                                   12            24.   Defendant Deputy Sheriff Randy Ensley (“ENSLEY”) was also in the
                                   13
                                        holding cell as he had been for the previous two days.
                                   14

                                   15            25.   Because plaintiff had to change into his trial clothing, he was the last person
                                   16
                                        to exit the holding cell.
                                   17

                                   18
                                                 26.   The day prior, Monday, May 26, 2017, ENSLEY had begun verbally

                                   19   harassing plaintiff. ENSLEY referred to plaintiff’s Pro Per status and made negative and
                                   20
                                        derogatory comments to and about plaintiff.
                                   21

                                   22            27.   Now that plaintiff was the last inmate in the holding cell, rushing to get
                                   23
                                        ready, ENSLEY began verbally harassing plaintiff again. ENSLEY said to plaintiff, “You
                                   24

                                   25   fucking pro per guys want to think you’re better than everyone else. You better hurry the
                                   26
                                        fuck up. You better hurry the fuck up before I fuck you up… It will be a really bad day
                                   27
                                        for you.”
                                   28


                                                                       COMPLAINT FOR DAMAGES
                                                                                 9
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                                    1
                                                28.   Plaintiff took ENSLEY’s words to mean he would have enjoyed injuring the

                                    2    plaintiff.
                                    3
                                                29.   ENSLEY’s threats were an attempt to provoke plaintiff into protesting
                                    4

                                    5    ENSLEY’s comments in a way that ENSLEY believed would justify beating and
                                    6
                                         torturing the plaintiff. ENSLEY was looking for an excuse to use force upon plaintiff, so
                                    7

                                    8    plaintiff tried not to make any fast movements. Plaintiff was afraid of ENSLEY and said
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                                    9
                                         nothing back him.
                                   10
                                                30.   Plaintiff tried to ignore ENSLEY and went about his way, focusing on his
                                   11

                                   12    trial. This angered ENSLEY.
                                   13
                                                31.   ENSLEY got really close to plaintiff’s face and called plaintiff a “faggot,” a
                                   14

                                   15    “pussy,” and a “bitch.” ENSLEY said, “You really want to get fucked up, don’t you? I’m
                                   16
                                         going to smash your fucking face to the ground.”
                                   17

                                   18
                                                32.   Plaintiff continued to try to ignore ENSLEY’s verbal threats because

                                   19    plaintiff knew that he wasn’t going to win. Plaintiff knew that if he fought back against
                                   20
                                         an attack by ENSLEY, plaintiff was not only going to get beaten-up by ENSLEY and his
                                   21

                                   22    fellow deputies, but he would also probably get bogus charges filed against plaintiff too.
                                   23
                                                33.   ENSLEY’S threats continued until plaintiff finally said to ENSLEY: “I’m
                                   24

                                   25    just trying to go to court. Leave me alone and do your job.”
                                   26
                                                34.   In response ENSLEY said: “You’re going to have a really bad day,” and
                                   27
                                         then came-up from behind plaintiff and brutally and sadistically twisted plaintiff’s right
                                   28


                                                                      COMPLAINT FOR DAMAGES
                                                                                10
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                                    1
                                         arm in a way that caused him to collapse to the floor.

                                    2          35.    GILBERT and DOES 1 to 6, inclusive, also grabbed plaintiff and also
                                    3
                                         twisted plaintiff’s arm.
                                    4

                                    5          36.    The pain was so severe, the plaintiff thought said defendants was going to
                                    6
                                         snap his arm or possibly break it. With plaintiff’s face on the ground, the defendants hit
                                    7

                                    8    plaintiff multiple times with their knees or by kicking; also badly injuring plaintiff’s nose.
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                                    9
                                               37.    Said defendants also punched plaintiff in the head, and then the other
                                   10
                                         deputies (i.e. defendants BROWN, PEREZ-ESTRADA, HECKATHORN, AVILA joined
                                   11

                                   12    in beating-up the plaintiff, punching, kicking and otherwise hitting / striking plaintiff in
                                   13
                                         his head, nose, back and shoulder, and put a knee to the back of his head; seriously
                                   14

                                   15    injuring him.
                                   16
                                               38.    Thereafter, one of the DOE defendant deputies picked plaintiff up and
                                   17

                                   18
                                         brutally threw him into a jail cell; again further injuring the plaintiff.

                                   19          39.    Afterwards, said defendant deputies laughed, gave each other high-fives and
                                   20
                                         made fun of plaintiff for not being able to go to court.
                                   21

                                   22          40.    Plaintiff was then sent back to housing rather than to court.
                                   23
                                               41.    When plaintiff was sent back to his jail cell, the pain on the left side of his
                                   24

                                   25    face and nose and upper right shoulder and back was so severe that plaintiff had to flag
                                   26
                                         down another inmate to help get the deputies’ attention.
                                   27

                                   28


                                                                       COMPLAINT FOR DAMAGES
                                                                                 11
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                                    1
                                               42.    The fellow inmate told the deputies that plaintiff badly needed medical care

                                    2    and the deputies told the fellow inmate: “Go away. Unless he’s dead, I don’t want to hear
                                    3
                                         it right now.”
                                    4

                                    5          43.    Accordingly, the conduct of defendants EASLEY, GILBERT, BROWN,
                                    6
                                         PEREZ-ESTRADA, HECKATHORN, AVILA and DOES 1 to 6, inclusive, constituted a
                                    7

                                    8    violation of the plaintiffs’ right to be free from the use of unreasonable and excessive
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                                    9
                                         force upon him in violation of the plaintiffs’ rights under the Fourth Amendment to the
                                   10
                                         United States Constitution.
                                   11

                                   12          44.        As a direct and proximate result of the actions of said defendants’ actions,
                                   13
                                         plaintiff was: 1) substantially physically, mentally and emotionally injured, and suffered
                                   14

                                   15    great physical, mental and emotional injury, distress, pain and suffering; 2) incurred
                                   16
                                         medical and psychological costs, bills and expenses and 3) incurred other special and
                                   17

                                   18
                                         general damages and expenses, in an amount in excess of $3,000,000.00.

                                   19          45.    The actions by said defendants were committed maliciously, oppressively
                                   20
                                         and in reckless disregard of plaintiffs’ constitutional rights, sufficient for an award of
                                   21

                                   22    punitive / exemplary damages against all defendants and each of them, save defendant
                                   23
                                         COUNTY, in an amount to be proven at trial, in excess of $10,000,000.00.
                                   24

                                   25                            SECOND CAUSE OF ACTION
                                                                VIOLATION OF 42 U.S.C. § 1983
                                   26
                                                            Violation Of First Amendment Right To
                                   27      Freedom Of Speech / Right To Petition Government For Redress Of Grievances
                                                                     (Against all defendants)
                                   28


                                                                         COMPLAINT FOR DAMAGES
                                                                                   12
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                                    1
                                               46.    Plaintiff hereby realleges and incorporates by reference the allegations set

                                    2    forth in paragraphs 1 through 45, inclusive, above, as if set forth in full herein.
                                    3
                                               47.    The main motivating factor for said defendants denying him medical care and
                                    4

                                    5    assaulting and battering of plaintiff numerous times as described above, was to retaliate
                                    6
                                         against him for protesting the ENSLEY’S verbal badgering and taunting of plaintiff and
                                    7

                                    8    for plaintiff thereafter protesting and the actions of said defendants in assaulting and
Law Offices of Jerry L. Steering




                                    9
                                         battering him.
                                   10
                                               48.    Accordingly, said assaults and batteries of the plaintiff was done to deprive
                                   11

                                   12    him / in retaliation for plaintiff’s exercise of his First Amendment rights.
                                   13
                                               49.    Plaintiff’s verbal protest of the actions of said defendants directed at him
                                   14

                                   15    (i.e. beating him, verbally taunting and badgering him) was speech that is/are protected
                                   16
                                         by the first amendment to the United States Constitution.
                                   17

                                   18
                                               50.    A substantial or motivating factor in the decision of the defendants to assault

                                   19    and batter the plaintiff and to deny him medical care was plaintiff’s exercise of his right
                                   20
                                         to freedom of speech / right to petition, as described above.
                                   21

                                   22          51.    But for Plaintiff’s exercise of his right to freedom of speech as described
                                   23
                                         above, defendants would not have taken the actions against the plaintiff that they did;
                                   24

                                   25    above-referenced.
                                   26
                                               52.    As a direct and proximate result of the actions of said defendants’ actions,
                                   27
                                         plaintiff was: 1) substantially physically, mentally and emotionally injured, and suffered
                                   28


                                                                       COMPLAINT FOR DAMAGES
                                                                                 13
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                                    1
                                         great physical, mental and emotional injury, distress, pain and suffering; 2) incurred

                                    2    medical and psychological costs, bills and expenses and 3) incurred other special and
                                    3
                                         general damages and expenses, in an amount in excess of $3,000,000.00.
                                    4

                                    5          53.    The actions by said defendants were committed maliciously, oppressively
                                    6
                                         and in reckless disregard of plaintiffs’ constitutional rights, sufficient for an award of
                                    7

                                    8    punitive / exemplary damages against all defendants and each of them, save defendant
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                                    9
                                         COUNTY, in an amount to be proven at trial, in excess of $3,000,000.00.
                                   10
                                                                     THIRD CAUSE OF ACTION
                                   11
                                                                   VIOLATION OF 42 U.S.C. § 1983
                                   12                   Violation Of Eighth Amendment Right To Be Free From
                                   13
                                                                    Cruel And Unusual Punishment
                                                                        (Against all defendants)
                                   14

                                   15          54.    Plaintiff hereby realleges and incorporates by reference the allegations set
                                   16
                                         forth in paragraphs 1 through 53, inclusive, above, as if set forth in full herein.
                                   17

                                   18
                                               55.    As set forth above, the defendants taunted, ridiculed, beat, tortured, and

                                   19    otherwise brutalized the plaintiff and denied him medical treatment for his obvious
                                   20
                                         serious medical needs. Accordingly, the defendant used excessive and unnecessary force
                                   21

                                   22    under all of the circumstances.
                                   23
                                               56.    Moreover, the defendants acted maliciously and sadistically for the purpose
                                   24

                                   25    of causing harm, and not in a good faith effort to maintain or restore discipline.
                                   26
                                               57.    Moreover, the actions of the defendants caused the plaintiff to suffer serious
                                   27
                                         physical injuries.
                                   28


                                                                       COMPLAINT FOR DAMAGES
                                                                                 14
                                        Case 8:18-cv-01228-JVS-ADS Document 1 Filed 07/11/18 Page 15 of 22 Page ID #:15




                                    1
                                               58.    Accordingly, the actions of the defendants as described above constituted a

                                    2    violation of the plaintiff’s right to be free from cruel and unusual punishment under the
                                    3
                                         Eighth Amendment to the United States Constitution.
                                    4

                                    5          59.    As a direct and proximate result of the actions of said defendants’ actions,
                                    6
                                         plaintiff was: 1) substantially physically, mentally and emotionally injured, and suffered
                                    7

                                    8    great physical, mental and emotional injury, distress, pain and suffering; 2) incurred
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                                    9
                                         medical and psychological costs, bills and expenses and 3) incurred other special and
                                   10
                                         general damages and expenses, in an amount in excess of $3,000,000.00.
                                   11

                                   12          60.    The actions by said defendants were committed maliciously, oppressively
                                   13
                                         and in reckless disregard of plaintiffs’ constitutional rights, sufficient for an award of
                                   14

                                   15    punitive / exemplary damages against all defendants and each of them, save defendant
                                   16
                                         COUNTY, in an amount to be proven at trial, in excess of $3,000,000.00.
                                   17

                                   18
                                                                 FOURTH CAUSE OF ACTION
                                                                VIOLATION OF 42 U.S.C. § 1983
                                   19                Violation Of Eighth Amendment Right To Be Free From
                                   20     Cruel And Unusual Punishment And Fourteenth Amendment Right To Protection
                                                                     Denial Of Medical Care
                                   21
                                                                     (Against all defendants)
                                   22

                                   23
                                               61.    Plaintiff hereby realleges and incorporates by reference the allegations set

                                   24    forth in paragraphs 1 through 60, inclusive, above, as if set forth in full herein.
                                   25
                                               62.    As shown above, after the defendants beat-up and tortured the plaintiff, he
                                   26

                                   27    was in such a physical condition that it would have been obvious to any peace officer that
                                   28
                                         he was in serious medical peril and that he was in need of immediate medical care.
                                                                       COMPLAINT FOR DAMAGES
                                                                                 15
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                                    1
                                               63.    Notwithstanding the obviousness of the serious medical peril that any

                                    2    reasonable peace officer would have noticed about the plaintiff, the defendants made an
                                    3
                                         intentional decision to deny him the medical care that he obviously needed immediately.
                                    4

                                    5          64.    The failure to provide the plaintiff immediate medical care placed plaintiff is
                                    6
                                         danger of suffering serious medical injury and placed him in substantial risk of suffering
                                    7

                                    8    serious harm, and caused plaintiff unnecessary severe physical, mental and emotional
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                                    9
                                         pain and suffering.
                                   10
                                               65.    A reasonable officer in the circumstances would have appreciated the high
                                   11

                                   12    degree of risk involved—making the consequences of the defendant’s conduct obvious;
                                   13
                                         and nonetheless, the defendants deprived the plaintiff of that medical care.
                                   14

                                   15          66.    Defendants’ failure to provide medical care to the plaintiff constituted
                                   16
                                         conduct that was done maliciously and sadistically for the purpose of causing harm, and
                                   17

                                   18
                                         not in a good faith effort to maintain or restore discipline, and caused the plaintiff to

                                   19    suffer serious medical harm; a violation of the plaintiff’s right to be free from cruel and
                                   20
                                         unusual punishment and a violation of the plaintiff’s substantive due process right to
                                   21

                                   22    medical care while in police custody.
                                   23
                                               67.    As a direct and proximate result of the actions of said defendants’ actions,
                                   24

                                   25    plaintiff was: 1) substantially physically, mentally and emotionally injured, and suffered
                                   26
                                         great physical, mental and emotional injury, distress, pain and suffering; 2) incurred
                                   27

                                   28


                                                                       COMPLAINT FOR DAMAGES
                                                                                 16
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                                    1
                                         medical and psychological costs, bills and expenses and 3) incurred other special and

                                    2    general damages and expenses, in an amount in excess of $3,000,000.00.
                                    3
                                                  68.   The actions by said defendants were committed maliciously, oppressively
                                    4

                                    5    and in reckless disregard of plaintiffs’ constitutional rights, sufficient for an award of
                                    6
                                         punitive / exemplary damages against all defendants and each of them, save defendant
                                    7

                                    8    COUNTY, in an amount to be proven at trial, in excess of $3,000,000.00.
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                                    9
                                                                    FIFTH CAUSE OF ACTION
                                   10                             VIOLATION OF 42 U.S.C. § 1983
                                              Municipal Liability Based On Policy, Practice And Custom (Monell Claim)
                                   11
                                                                (Against defendant County of Orange)
                                   12

                                   13
                                                  69.   Plaintiff hereby realleges and incorporates by reference the allegations set
                                   14
                                         forth in paragraphs 1 through 68, inclusive, above, as if set forth in full herein.
                                   15
                                                  70.   As set forth above, the Orange County Sheriff’s Department had and has a
                                   16

                                   17    custom and practice of: 1) for using excessive force upon jail inmates, 2) for fabricating /
                                   18
                                         destroying / concealing / altering evidence in criminal and civil actions, and for otherwise
                                   19

                                   20    “framing” persons in criminal actions, in order to falsely and maliciously, oppressively
                                   21
                                         convict innocent persons, to protect them and other deputy sheriffs and supervisory
                                   22

                                   23
                                         personnel from civil, administrative and criminal liability; 3) for interfering with persons’

                                   24    and/or otherwise violating persons’ constitutionally protected right to free speech; 4) for
                                   25
                                         covering-up unlawful and tortious conduct by Orange County Sheriff’s Department
                                   26

                                   27    personnel, and 5) for failing to provide medical care to those in obvious serious medical
                                   28
                                         peril.
                                                                        COMPLAINT FOR DAMAGES
                                                                                  17
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                                    1
                                               71.    As a proximate result of said customs, practices and policies defendant

                                    2    County of Orange the individual in this case committed the constitutional torts described
                                    3
                                         above against the plaintiff.
                                    4

                                    5          72.    Accordingly, defendant County of Orange is liable for the actions taken
                                    6
                                         against plaintiff and the damages caused by the same pursuant to Monell v. Department
                                    7

                                    8    of Social Services, 436 U.S. 658 (1978).
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                                    9
                                               72.    As a direct and proximate result of the actions of said defendants’ actions,
                                   10
                                         plaintiff was: 1) substantially physically, mentally and emotionally injured, and suffered
                                   11

                                   12    great physical, mental and emotional injury, distress, pain and suffering; 2) incurred
                                   13
                                         medical and psychological costs, bills and expenses and 3) incurred other special and
                                   14

                                   15    general damages and expenses, in an amount in excess of $3,000,000.00.
                                   16
                                                                        SIXTH CAUSE OF ACTION
                                   17                                             Battery
                                   18
                                                                         Under California State Law
                                                                          (Against all defendants)
                                   19

                                   20          73.    Plaintiff hereby realleges and incorporates by reference the allegations set
                                   21
                                         forth in paragraphs 1 through 72, inclusive, above, as if set forth in full herein.
                                   22

                                   23
                                               74.    The actions committed by defendants to this action as described above

                                   24    constituted the unjustified non-consensual use of unlawful force and violence upon the
                                   25
                                         plaintiff, and constituted a battery of him by said defendants under California state law.
                                   26

                                   27          75.    The defendants are liable to plaintiff pursuant to Cal. Gov’t Code §§ 815.2
                                   28
                                         and 820 and otherwise pursuant to the common-law.
                                                                        COMPLAINT FOR DAMAGES
                                                                                  18
                                        Case 8:18-cv-01228-JVS-ADS Document 1 Filed 07/11/18 Page 19 of 22 Page ID #:19




                                    1
                                               76.    As a direct and proximate result of the actions of said defendants’ actions,

                                    2    plaintiff was: 1) substantially physically, mentally and emotionally injured, and suffered
                                    3
                                         great physical, mental and emotional injury, distress, pain and suffering; 2) incurred
                                    4

                                    5    medical and psychological costs, bills and expenses and 3) incurred other special and
                                    6
                                         general damages and expenses, in an amount in excess of $3,000,000.00.
                                    7

                                    8          77.    The actions by said defendants were committed maliciously, oppressively
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                                    9
                                         and in reckless disregard of plaintiffs’ constitutional rights, sufficient for an award of
                                   10
                                         punitive / exemplary damages against all defendants and each of them, save defendant
                                   11

                                   12    COUNTY, in an amount to be proven at trial, in excess of $3,000,000.00.
                                   13
                                                                     SEVENTH CAUSE OF ACTION
                                   14
                                                                         Cal. Civil Code § 52.1
                                   15                                  Under California State Law
                                                                        (Against all defendants)
                                   16

                                   17          78.    Plaintiff hereby realleges and incorporates by reference the allegations set
                                   18
                                         forth in paragraphs 1 through 77, inclusive, above, as if set forth in full herein.
                                   19

                                   20          79.    The actions of Officer Defendants WEBER, MEYER, MULROY, and
                                   21
                                         DOES 1 through 6, inclusive, in intentionally grabbing, tackling, slapping, torturing,
                                   22

                                   23
                                         punching, arresting, citing, and procuring the prosecution of Plaintiff DUERO-YOUNG

                                   24    constituted an intentionally threatening, intimidating, and coercive means of interfering
                                   25
                                         with DUERO-YOUNG’s Fourth Amendment right to be free from unreasonable seizures.
                                   26

                                   27          80.    The actions of Officer Defendants EASLEY, GILBERT, BROWN, PEREZ-
                                   28
                                         ESTRADA, HECKATHORN, AVILA and DOES 1 to 6, inclusive, in using the force and
                                                                       COMPLAINT FOR DAMAGES
                                                                                 19
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                                    1
                                         violence against plaintiff as described above constituted an intentionally threating,

                                    2    intimidating, and physically coercive means of interfering with plaintiff’s Fourth
                                    3
                                         Amendment right to free from unreasonable seizures (excessive force) to deter and/or
                                    4

                                    5    prevent the plaintiff from exercising his right to freedom of speech / right to petition
                                    6
                                         under the First Amendment to the United States Constitution.
                                    7

                                    8          81.    The actions of defendants EASLEY, GILBERT, BROWN, PEREZ-
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                                    9
                                         ESTRADA, HECKATHORN, AVILA and DOES 1 to 6, inclusive, in brutalizing the
                                   10
                                         plaintiff were done in retaliation for plaintiff’s DUERO-verbal protesting said
                                   11

                                   12    defendants’ actions and constituted an intentionally threatening, intimidating, and
                                   13
                                         coercive means of interfering with plaintiff’s First Amendment right to petition the
                                   14

                                   15    government for redress of grievances.
                                   16
                                               82.    Thus, the actions of defendants EASLEY, GILBERT, BROWN, PEREZ-
                                   17

                                   18
                                         ESTRADA, HECKATHORN, AVILA and DOES 1 to 6, inclusive, as complained of

                                   19    herein, intentionally interfered with, and/or attempted to interfere with, by use of threats,
                                   20
                                         intimidation, and coercion, plaintiff’s exercise or enjoyment of rights secured to him by
                                   21

                                   22    the Constitution and laws of the United States, and the Constitution and laws of the State
                                   23
                                         of California, all in violation of California Civil Code §52.1; to wit, the unreasonable
                                   24

                                   25    seizure and use of excessive/unreasonable force upon plaintiff in violation of his Fourth
                                   26
                                         Amendment rights, and the retaliatory arrest and beating of plaintiff in violation of his
                                   27
                                         First Amendment rights.
                                   28


                                                                      COMPLAINT FOR DAMAGES
                                                                                20
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                                    1
                                               83.    Defendants EASLEY, GILBERT, BROWN, PEREZ-ESTRADA,

                                    2    HECKATHORN, AVILA and DOES 1 to 6, inclusive, are liable to Plaintiff DUERO-
                                    3
                                         YOUNG for said violations of his constitutional rights, pursuant to California Civil Code
                                    4

                                    5    §52.1, and California Government Code §§815.2(a), 815.6, 820, 820.8.
                                    6
                                               84.    As a direct and proximate result of the actions of said defendants’ actions,
                                    7

                                    8    plaintiff was: 1) substantially physically, mentally and emotionally injured, and suffered
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                                    9
                                         great physical, mental and emotional injury, distress, pain and suffering; 2) incurred
                                   10
                                         medical and psychological costs, bills and expenses and 3) incurred other special and
                                   11

                                   12    general damages and expenses, in an amount in excess of $3,000,000.00.
                                   13
                                               85.    The actions by said defendants were committed maliciously, oppressively
                                   14

                                   15    and in reckless disregard of plaintiffs’ constitutional rights, sufficient for an award of
                                   16
                                         punitive / exemplary damages against all defendants and each of them, save defendant
                                   17

                                   18
                                         COUNTY, in an amount to be proven at trial, in excess of $3,000,000.00.

                                   19          86.    In addition, because the actions of Defendants, as complained of herein,
                                   20
                                         constituted a violation of California Civil Code § 52.1, Plaintiff is entitled to an award of
                                   21

                                   22    treble compensatory damages against all Defendants, and each of them.
                                   23
                                               WHEREFORE, plaintiff prays for judgment as follows:
                                   24

                                   25                 a) For a judgment against all Defendants for compensatory damages in an
                                   26
                                                         amount in excess of $3,000,000.00, trebled to $9,000,000.00.
                                   27
                                                      b) For a judgment against all Defendants, save Defendant COUNTY, for
                                   28


                                                                       COMPLAINT FOR DAMAGES
                                                                                 21
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